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   Htι me
                 Intellectual Properties Worldwide, LLC
  c ^tnparιy     intellectual Property Worldwide , LLC {"IPW ") was formed ín mid-2002 to acquire classic films , TV shows, no^eis
                 and other " branded" intellectual property and to exploítimonetiæe these properties once they have been
 About Us
                 obtained.
 COF3L^C^ U5 ^
                 Marc Toberoff, iPW's Chairman & CEO, is an experienced entertainment attorney and producer with expertise ín
                 identifying and obtaining intellectual property . J. Todd Harris, the head of the production division, is a
                 seasoned
                 Hollywood producer with oser twenty three ^2^) films to his credit . Together they bring the knowledge and
                 experience needed to make iPW the premier "one-stop-shop " for classic intellectual property.

                 In just two years , IPW has amassed rights to over 250 popular literary titles . Du^íng that time, IPW has assisted
                 top talent agencies and film production companies ín identifying á nd obtaining rights to "classic" intellectual
                 properties.




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 "X 1             IPW's Management
íX1
   AboukllS '     Marc Toberoff, Esq., Chairman & CEO, is an íntellectuai property expert, ent^epreneu^ and produces with a proven track
                  record í^ reco^eríng and exploiting valuable intellectual property rights ta class^C films and TV shows. Prior to founding
 Ca^rtact ^ 5 '   IFW, Mr. Tobe^aff acquired theatrical film, pay TV, merchandising and publishing rights to the classic televísìo^ series: My
                  Favorite Martía^, Fantasy Island, The W^td Wild West, t Spy, Combat!, Ironsides, Police Woman, F-Troop, Pett^coaf
                  Junct^an,
                  Welcome Back Kotter and Run For YourLífe. M^ Toberoff's effarts led to 5ony's feature film, !SPY, sta^ríng Eddie Murphy
                  and Owen Wilson (2002), which he e^ecutíve produced, Disney's feature film, My Favo^fe Martía^ (1998} starring Jeff
                  Daniels, Christopher Lloyd and Elizabeth Hurley, which Mr. Toberoff produced; a new Fantasy lsland TV se^íes (2000), a
                  second reality-based Fantasy lsland 7V series {2003) and Columbia's development of a Fantasy lsland feature film
                  franchise; COMBAT! set-up at Paramount with Bruce Wíllís; and Run For Your Lífe set up at Uní^ersal with John Travotta.

                  Raised ín New York, Mr. Toberoff is a graduate of McGill and Princeton Un^^ersítíes and Columbia Law School. He ís an
                  actí^e member of fibs New York and Calífornía Bars, the centers of ínfieliectual property law.

                  J. Todd Harris, President of Production , has produced 27 films ín the past ten years, íncludíng independent and studio
                  features, and movies for television, with budgets ranging fram $5O0,ä00 to $50 million. Previously, he was presíde^t of
                  Davis Entertainment F^imworks ín Los Angeles. The company, founded ïn 1995 by M^. Haryls and Davis Entertainment
                  chairman John Davis, produced two to three independent films per year until 2003. M^, Harris partnered ín Daly-Harris
                  Productions based at Paramount Pictures with actor Tim Daly in 1998, M^. Haras ^ínanced the majority of his films
                  through
                  private equity, production banking, foreign pre-sales, domestic and ínternatíonal subsidized production financing
                  programs,
                  íncludíng internatíonai co-productions. He has been i^tìmately involved ín the complete production cycle of all of his
                  pictures, from develapme^t through ancillary marketing, and has strong relationships with major talent (actors, directors,
                  writers), every major talent agency and film ftnancíer ín the industry. Hís films have played such festivals as Sundance,
                  Cannes, Deauville, Venice, Trtbeca and Toronto. Mr. Harris ís member of the producers' branch of the Motion Picture
                  Academy. Originally from New York, he is a graduate of Stanford University where he etsa earned his MBA. He lí^es ín Los
                  Angeles with his wife, lyrtcíst Amy Powers, and their young sons Jasper and Cale..

                  Nicholas C . Williamson , Esq., Director of Legal Affairs and Research , ís a graduate of the Uní^ersíty of Geo^gta School of
                  Law. Prior to graduate school he co-wrote and starred to the award winning short film Knock It Down while working as a
                  market analyst. He graduated with a BA to phttosophy, Phí Beta Kappa, high honors from the University of Georgia. While
                  an
                  undergraduate, Mr. Williamson won a scholarship to study literature at Keble College, Oxford. Mr. Williamson ís a^ active
                  member af the California Bar.




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               Company Overview

                  IPW manages an impressive library of over 254 popular literary titles . In order to monetize these assets, IPW has
  Campatty     strategic partnership with top talent agencies and production companies that allows it to quickly package these classic
 ;x
               pr^pertíes for production either as theatrical motion pictures or other entertainment media.
 Gutιtact U5
                  Currently, IPW has several ongoing p^jects at ^aríous stages of development , including the following films and TV
               shows : Fantastic Voyage with producerldírector James Cameron ( Titanic}, Blue 119avíe with Academy Award wínníng
               producerid '^restor Steven Sodert^ergh (Erin Brockovích, Traffícy, The Immortals with writer Ted Griffin ( Oceans ^1 j,
               5a^ford aid Son with star Bernie Mac, The Phoenix with director Gore Verbínskí ( Pirates of the Ca^bbea^, The Ring),
               Grand Hotel with Academy Award wínníng writer Julian Fellowes (Dosford Park), My Bodyguard with Dimension Films,
               aid a Gíiliga^ s 1s1a^d reality television series with Turner Entertainment.

                 The following is a just a sampfíng of the 25q+ títfes to which IPW holds remake, sequel and/or tele^ísían rights:

                    All About Eve
                    Asphalt Jungle
                    The Brave ^^e
                    C.H.UD.
                    Fantastic Voyage
                    Gentlemen Prefer Blondes
                    G^lliga^'s Island
                    Grand Notel
                    Nigh Noon
                    Nlgh Sierra
                    Ironside
                    ley Bodyguard
                    Piranha
                    Police Woman
                    Roots by Alex Haley
                    Sanford and Son
                    This Island Earth
                    Touch of Evíi




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